 Case 2:17-cv-00026-JRG Document 7 Filed 02/28/17 Page 1 of 2 PageID #: 101



                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS


SYMBOLOGY INNOVATIONS, LLC                   §
                                             §
       Plaintiff,                            §    CIVIL ACTION NO. 2:17-cv-00026
                                             §
       v.                                    §    JURY TRIAL DEMANDED
                                             §
MOTOROLA SOLUTIONS, INC.,                    §
                                             §
                                             §
       Defendant.                            §




            MOTION TO DISMISS VOLUNTARILY WITHOUT PREJUDICE

       Plaintiff Symbology Innovations LLC (“Symbology”) pursuant to Fed. R. Civ. P. 41 (a),

hereby move for an order dismissing all claims by Symbology against Defendant Motorola

Solutions, Inc. (“Motorola”) in this action WITHOUT PREJUDICE, with each party to bear its

own costs, expenses and attorney’s fees.

Dated: February 28, 2017                                Ferraiuoli LLC
                                                        /s/Eugenio J. Torres-Oyola
                                                        Eugenio J. Torres-Oyola
                                                        USDC No. 215505
                                                        221 Ponce de Leon Ave., 5th Fl.
                                                        (T) 787.766.7000
                                                        (F) 787.766.7001
                                                        (E) etorres@ferraiuoli.com

                                                        Attorney(s) for Plaintiff
                                                       Symbology Innovations LLC
 Case 2:17-cv-00026-JRG Document 7 Filed 02/28/17 Page 2 of 2 PageID #: 102




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

document has been served on February 17, 2017, to all counsel of record who are deemed to have

consented to electronic service via the Court’s CM/ECF system per Local Rule CV-5(a)(3).

                                                          /s/Eugenio J. Torres-Oyola
                                                          Eugenio J. Torres-Oyola
